IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

 

HAYWARD INDUSTRIES, INC.,
Plaintiff,
V.

BLUEWORKS CORPORATION,
BLUEWORKS INNOVATION
CORPORATION, NINGBO C.F.
ELECTRONIC TECH CO., LTD; NINGBO
YISHANG IMPORT AND EXPORT CO.,
LTD.

Defendants.

 

 

DECLARATION OF TIBERIUS DINU

Civil Action No. 3:20-CV-00710-FDW-DSC

I, Tiberius Dinu of Unit 801-2, 8th Floor, Tung Hip Commercial Building, 244 Des Voeux Road

Central, Hong Kong, Operations Manager of PCL, declare as follows:

1. I am the Operations Manager at Panoramic Consulting Limited (PCL), a consulting firm which

engages in services such as litigation support, intellectual property rights protection and market
analysis. In particular, PCL carries out investigations involving intellectual property rights of a

wide variety of well-known brands.

Since 2006, I have been participating in investigations carried out by PCL, particularly in the
People’s Republic of China, including but not limited to, formulation of investigation strategies,
instructing of operative agents, review of operative reports and inspections of counterfeit
products. In addition to English, I am fluent in Chinese Mandarin, able to both read and

understand that language.

PCL was retained to conduct intellectual property infringement enquiries into Ningbo C.F.
Electronic Tech Co., Ltd. (FUR TH Be TRY A BE Z B)) (“Ningbo C.F.”) on behalf of

Hayward Industries, Inc. (“Hayward”). The enquiries were designed to identify, amongst other
things, Ningbo C.F.’s range of products and its relationship with United States entities
suspected to be infringing Hayward’s intellectual property rights in the United States, China

and elsewhere.

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4. Unless otherwise stated, I make this Declaration based on my own knowledge and
belief. Where I have relied upon information provided to me by others, I have identified the

source of that information, and I believe that information to be true and correct.
A. Company searches

5. I have caused searches of the Chinese register of companies maintained by the China State
Administration for Market Regulation (SAMR) to be conducted for Ningbo C.F. Electronic
Tech Co., Ltd. (Ningbo C.F.) and Ningbo Yishang Import & Export Co. Ltd. (also translated as
“Trade Ease Import & Export Co., Ltd.” and hereafter called “Trade Ease”), both of which are
Chinese companies. I have also caused English translations of relevant SAMR records for
these Chinese companies to be produced. A copy of the SAMR record for Ningbo C.F. and an
English translation of that record appears at Exhibit TD-1. A copy of the SAMR record for
Trade Ease and an English translation of that record appears at Exhibit TD-2. From those
records, I note that Chen Zefeng / Richard Chen, is one of the two (2) shareholders of Ningbo
CF.

B. Investigations of Ningbo C.F. Electronic Tech Co., Ltd.

6. PCL began investigating Ningbo C.F. on or about 13 October 2020. As a part of PCL’s
investigations, we also reviewed copies of publicly available annual reports of Blueworks
Corporation and Blueworks Innovative Corporation (each on its own and collectively,

Blueworks), appearing at Exhibit TD-3.

7. Between 17 October 2020 and 2 November 2020, I caused my team to communicate with
Ningbo C.F. by phone calls, emails, QQ (a Chinese messaging app), and WeChat messages
posing as an agent acting on behalf of a Mexican company interested in ordering pool salt
chlorinators for export to Mexico. Ningbo C.F. agreed to meet with the PCL agent at Ningbo
C.F.’s offices on 3 November 2020.

8. On 3 November, I caused my team to visit Ningbo C.F.’s facilities at Xiwang Industrial Zone,
Wanhua Village, Hengjie Town, Haishu District, Ningbo (‘772% TH AEE X BRET BO EN ET.
MX), where an agent engaged and met with Ningbo C.F.’s manager Mr. Chen Ze Feng (KR
#£) and one Holly Chen / Chen Hong Xia (RULE). The PCL agent identified her status with

the company from the roster of Ningbo C.F.’s foreign trade department.

9. During the visit, the following company names were observed by the agent on signboard near

the entrance to the building and at the entrance of the fifth floor:

  
  
  

e Ningbo C.R ElecjeOnic Tech Co., Ltd. (TUR EBB FARRAR Z 5)

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e Ningbo Rotary Energy Saving Tech Co., Ltd. (T72R Ti 7 4 i BERLE A BZ B])
(“Ningbo Rotary”)

e Ningbo Yishang Import & Export Co., Ltd. (1k Ti DAVE FG BR BEE ZA a)
(“Trade Ease”)

10. During the visit, a business card showing the name “Richard Chen” was obtained from Mr.

Chen Ze Feng. A true copy of the front of that business card is attached as Exhibit TD-4.

11. The agent also received from Ms. Holly Chen a Blueworks product catalogue, claimed to have
been printed two (2) years ago. A true copy of that catalogue is attached as Exhibit TD-5.
That catalogue bore information about what appeared to be the Ningbo C.F.’s “American
branch company”:

Blueworks Corporation

Address: 303 Albemarle Street, Lexington, NC 27292
E-mail: contact.us@blueworkspool.com

Office: +1-844-319-0237/+1-917-204-7116

Website: blueworkspool.com

12. During the visit, Mr. Chen gave the following information to the PCL agent regarding Ningbo

C.F. and its businesses:

e Ningbo C.F. was established sixteen (16) years ago, and is specialized in the
manufacture of swimming pool pumps, pool salt chlorinators, pool lights, etc. Their
products are mainly exported to the United States and Europe.

e The building in which Ningbo C.F.’s offices are located is self-owned, with the 2nd to
4th floors serving as production workshops. The Chinese company names for Ningbo

C.F (Es) and Trade Ease (5 fi) were all registered by Ningbo C.F.

e Ningbo C.F. operates a branch company, a large warehouse, and an assembly factory
with over ten (10) employees in the United States. Most of the products in the US
warehouse were shipped to it from China.

e The company not only produces products under its own “Blue Works” brand, it also
provides OEM (“original equipment manufacturer”) services for its clients. The MOQ
(“minimum order quantity”) for OEM orders was five hundred (500) pieces per model.

e Mr. Chen said that Ningbo had registered the brand “Blue Works” in both China and
America.

e Mr. Chen himself mainly specialized in technical development, and sometimes received
important clients pilin too. The company’s most competitive products were

pool salt chlorinators, without any equivalent competitors in China. He also claimed that

 
 

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Ningbo’s technology was a leader in the US market and was at least five (5) years in
advance of Hayward’s pool salt chlorinator technology.

e The titanium plates/parts for use in their pool salt chlorinators were imported from a
contractual factory in America. The MOQ of the contractual factory was one thousand
(1,000) pieces, but the company ordered tens of thousands of pieces each time.

e Mr. Chen said they could provide some samples of pool salt chlorinators for the agent,
but only under the condition that the agent’s “client” in Mexico provide detailed

company information and specific requirements regarding the samples to be ordered.

13. During the visit, the PCL agent also spoke separately with Holly Chen, who gave the agent the

following information, some of which is inconsistent with statements made by Richard Chen:

e Ningbo C.F. specialized in production while Trade Ease specialised in import and

export services.

e Ningbo C.F. has a large warehouse in America, but it does not have a factory there, only
an office offering after-sale services. This statement contradicted Mr. Chen’s statements

on this issue.

e Ningbo C.F. offered pool salt chlorination cells for sale that were compatible with
Hayward and Pentair products. Those compatible with Hayward’s products were

Ningbo C.F.’s most popular products.
C. Communications with Ningbo C.F. via Alibaba message system

14. Following that visit, from 7 December 2020 to 5 January 2021, the PCL agents continued to
communicate with Ningbo C.F. regarding the pool salt chlorinators via the Alibaba messaging

system accessible on its webpage on Alibaba, https://techflife.en.alibaba.com.

 

15. On7 December 2020, a PCL agent visited the above-mentioned Alibaba website to investigate
certain Hayward products, such as salt cells advertised at the following link:
https://techflife.en.alibaba.com/product/1438991921-

801036501 /titanium electrode Salt _Chlorinator Product_cell_replacement_to_Autopilot.html
2spm=a2700.icbuShop.rect38f22d.2.40a72daeQIP7GS. Although that link is no longer
available, a cached version can be found at the following link, with an image of that cached
version appearing at Exhibit TD-6:
https://webcache.googleusercontent.com/search?g=cache:rjxBTrVuZHAJ:https://chinese.alibab
a.com/product-detail /titanium-electpade-salt-chlorinator-product-cell-replacement-to-autopilot-

1438991921 hhtmL+&ed-7&hl47HCN&ct=clnk&egl=us.

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We sent a message to Ningbo C.F. regarding the products in question through the Alibaba
messaging system referenced above. On the same day, an individual who signed her messages
“Ruby” replied to the PCL agent via the same messaging system. Printouts of the messages
between the agent and Ningbo C.F.’s “Ruby” described in paragraphs 16-21 of this Declaration
appear at Exhibit TD-7.

After a series of messages back and forth, the PCL agent placed an order for one “Titanium
electrode Salt Chiorinator Product cell replacement to Autopilot Cell to Hayward T3” and one
“Titanium electrode Salt Chlorinator Product cell replacement to Autopilot Cell to Pentair
1C20” on 7 December 2020 (the “Alibaba Order”). I note that these products were ordered to
obtain suspected-infringing pool salt chlorinator samples via an alternate pretext, hedging
against the possibility that Ningbo C.F. might refuse to provide samples via the earlier in-

person pretext approach described above.

Through the Alibaba messaging system, “Ruby” sent the PCL agent a link for payment for the
Alibaba Order. The PCL agent then visited the payment link provided by Ruby at
https://cashier.alibaba.com/linkpay/payProxy .htm?param=7b197f0f1 d213d79c2895dae34ae195
£7bd58d50e23b3f12e93f59d 176e0b6d0-al 10625cbe7741afb00a4e2f9 13ea97f: 1607328322431,
and paid a total of US$551 by credit card on 7 December 2020. The payment details for the
Alibaba Order appear at Exhibit TD-8.

On 18 December, the PCL agent received a message from Ruby enquiring about the PCL
agent’s background and seeking information about the agent’s “client” for whom he had
claimed to be purchasing the products. The agent responded with details about the “client” and

their need for the products, supporting the request for the two samples in the Alibaba Order.

Ruby appeared to be unsatisfied with this response, however, and she pressed the PCL agent for
additional details about his company and the end-user client’s details, claiming that it is Ningbo

C.F.’s company policy to “better know its clients.”

To not arouse any more suspicion (given that Ruby was, in our view, approaching a simple
transaction far too cautiously), on 22 December, the agent communicated to Ruby to the effect
that these questions were too onerous for the simple purchase of products they were openly
advertising for sale. Instead, he indicated that if she could not sell the products to the agent, he
would ask for a refund of the money already paid for the Alibaba Order. In response, Ruby told
the agent to proceed with the refund.

   
 
 

On 29 December 2020, the refund fom Ningbo C.F. was received by PCL.

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D. Communications with Ms. Chen of Ningbo C.F. via email and second on-site visit

On 10 December 2020, the PCL agent contacted Ms. Chen via email and placed an order for the
following products, all publicly available for purchase at Ningbo C.F.’s Alibaba page, noted

above:

1. CFT-C series, 1 piece;

2. CFLH series, 1 piece;

3. CFSC series, | carton; and
4. CFAG10/20, 1 unit.

On 11 December 2020, Ms. Chen replied via email that CFT-C is compatible with Hayward
Aquarite T3/T9/T15 salt cell and asked the PCL agent whether the ordered product was
intended to replace T3, T9, or T15. In response, the PCL agent indicated it was intended to
replace a T3. Ms. Chen also asked “how many grams” were needed for the CFLH series, CFSC
series, and CFAG10/20. The PCL agent replied on the same day that they wanted 20g for each
product. Ms. Chen replied via email she would send the PCL agent an invoice for the ordered
products. See Exhibit TD-9.

On 14 December 2020, the PCL agent wrote to Ms. Chen via email to follow up about the
invoice, also asking whether all products offered in Ningbo C.F.’s catalogue are manufactured
by it in China. Ms. Chen provided us with a proforma invoice for the order. Ms. Chen also
replied via email that “For salt chlorinator cell plates are made in China. Yes, all products in

catalogue made by us, we're factory.” See Exhibit TD-10.

As well, Ms. Chen provided the agent with bank account information for a Hong Kong
company called Fig Global Limited, (“Fig”), which she indicated was Ningbo C.F.’s Hong

Kong company.

On 15 December 2020, I caused a deposit of US$ 1,155 (a portion of the final total sum of
US$1,616) to be transferred to Fig’s bank account as provided by Ms. Chen.

On 15 December 2020, I arranged for Ms. Chen to be sent the payment confirmation via email,
and to ask whether the samples could be picked up at their factory. Further, as during the first
on-site visit, Ningbo C.F. claimed that they have a facility in the USA, the PCL agent also
asked via email if Ningbo C.F.’s facility in US also manufacture products or is just used for
assembly. Ms. Chen replied via email that they will get packaging ready before the PCL agent
visits again. Further, Ms. Chen also said in the email that “We don't have a facility in USA,

may be in the future we will have. BTW, ifsample past testing, how many units you can order

 
 
  

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a year? If your order quantity over 500 units a year, we can private label for you.” See Exhibit

TD-11.

On 18 December 2020, the PCL agent wrote to Ms. Chen via email to add in a request for two
additional samples, 1 for CFT3 and 1 for CFAG20G-2. Ms. Chen revised the order and sent us

an updated invoice via email on the same day. See Exhibit TD-12.

In follow up communications with Ms Chen on 23" December 2020 via WeChat, she originally
agreed that the PCL agent could collect four of the six ordered units from the factory on 25
December 2020. On 24'" of December 2020, however, she indicated via a WeChat call that they
could not provide the four ordered units on 25 December as they had “forgotten to test them.”
She also indicated that the other two units would be ready the following week, suggesting that

the agent could collect all six (6) ordered units together at the factory in the following week.

On 28 December 2020, Holly informed the PCL agent via WeChat messages that the ordered

samples would be ready for collection on 31 December 2020.

Although the issues with Ruby and her clear suspicions regarding the separate investigative
approach identified in paragraphs 19-21, above, raised our concern that Ningbo C.F. might
suspect and be aware of the ongoing investigations, PCL nevertheless continued with the in-
person approach to Ningbo C.F. to try to obtain samples of the suspected infringing products in
the presence of Chinese notaries. As a result, and due to the need to coordinate the involvement
of Chinese notaries to accompany the PCL agent and witness and record the visit, we were only
finally able to arrange the visit with Ms. Chen to collect the samples at Ningbo C.F.’s factory
on 5 January 2021.

On 5 January 2021, the PCL agent revisited Ningbo C.F. at the same location as the initial visit,
though this time, he was accompanied by two (2) Chinese notaries public from a notary office

in Guangzhou.

Ms. Chen received the PCL agent and accompanying notaries at an office on the 5" floor of the
building. She initially claimed that the company’s production department workers were
packing the samples, asking the PCL agent and notaries to wait in the office. The agent also
paid Ms Chen the balance of the payment due on the expanded order, RMB3,200 (Approx.

US$461) in cash, and Ms. Chen supplied the agent with a printed proforma invoice in return.
While waiting for the sample, Ms. Chen also noted the following:

e Ifthe agent’s overseas client would Jike to place an order from their factory, they would

  
   

ship the goods directly from Chyfia, so there was no need to ship from their company in
the USA.

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e They did not have a factory in the USA, only a warehouse.

e They could not reveal the information regarding their source of the blades, as that was

the company’s confidential information.

About half an hour later, seven (7) Chinese police officers with the Ningbo Public Security
Bureau entered the office, asking that the agent and the two Chinese notaries to hand over their
mobile phones and ID cards. The PSB officers separated the PCL agent and notaries into

separate offices, questioning them separately for around 2.5 hours.

During the questioning, the PSB officers mentioned to the PCL agent that the “factory boss”
had reported the PCL agent on suspicion of “stealing” the company’s secrets. The PSB officers
also asked the PCL agent on whose behalf he was making the visit to Ningbo C.F. and in
compliance with that request, he disclosed he was there on behalf of Hayward in relation to an

intellectual property infringement investigation.

Upon the agent’s request, Mr Chen refunded the RMB3,200 the agent had paid for the samples
on the day.

The PSB officers then released the PCL agent and notaries with no charges being filed.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct. Executed on January ZI, 202

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Tiberjus Dinu
Exhibit TD-1

to 21 January 2021 Declaration of Tiberius Dinu

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The online database <http://www.gsxt.gov.cn/index.html> of National Enterprise Credit
Information Publicity System offers the simple statutory information of Ningbo C.F.
Electronic Tech Co., Ltd. at the webpage
<http://www.gsxt.gov.cn/%7B994A4C 1 2F16BEDC0025C8B 1 1D3B76F&8CD29EEC2EB
4F89CCEC852B 1EFA32A055B8CCOA4F6F06A 1 83509EAC7FB895E2CB6D30D6CA2
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Details are provided below:

 

Unified social credit code: 9133021279301 7223G

Business name: Ningbo C.F. Electronic Tech Co., Ltd.

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Registration No.: 330212000243698

Legal representative: Guo Jiaping (35%)

Type of business: liability limited company (investment or holdings by a natural person)
Date of establishment: 27% September 2006

Registered capital: RMB1.5 million

Date of approval: 17 March 2020

Business validity: from 27h September 2006

Registration authority: Ningbo Haishu District Market Supervision and Administration
Bureau

Status: existent

Registered add: Xiwang Industrial Zone, Wanhua Village, Hengjie Town, Haishu District,
Ningbo, Zhejiang

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Business scope: manufacturing, processing, wholesale, and retail of electronic
components, electronic toys, and household appliances; import and export of self-operated
or agent goods and technologies, except for goods and technologies that are restricted or
prohibited by the state.

Information of Shareholders:

No Name of Type of Type of ID / ID / License
Shareholders Shareholder License Number
| Chen Zef yey .. a
1 2) efeng (iH Natural person not publicized not publicized
| 2 a Jiaping (#8 f& Natural person not publicized not publicized

Information of key members:

No. Name Position
1 Chen Zefeng (BRYE#4) | Supervisor
| 2 _ Guo Jiaping (Fi{#5%) Executive Director

Business renewal information:

 

 

No. Renewal Content Before Renewal After Renewal Date of
Renewal
| 1 | Address Taoyuan Village, | Xiwang Industrial 17‘ =March |
| Hengjie Town, Zone, Wanhua 2020
| Haishu District, Village, Hengjie
Ningbo, Zhejiang Town, Haishu |
ITS ER TTISEEEX District, Ningbo, |
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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 11 of 94
 

 

2 Address Taoyuan Village, Taoyuan Village, 19% January |

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Yinzhou District, | Haishu District,
Ningbo | Ningbo, Zhejiang
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5 Reissue a unified | Registration | Unified social credit | 24 February |
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Organization code | 3G |
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6 Address Address: Gongren | Address: Taoyuan | 20th January
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7 | Industry code | Industry code:3960 | Industry code:3971 = 20 January |
| 2015 |

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 12 of 94
 

The company’s simple annual report of the year-2019 released on 21t May 2020 is
provided at the webpage
<http://www.gsxt.gov.cn/%7BFACA2F9292EB8E406 1 DCE891B0370C0CB11E8FAED
778FF4EABD21E991ED01C162BOAQOAEF5269EF23FADBA224199BB65097E6E324A
683864 18886C286D386D386C286D3BCD3D 1 84D 1 84D 18FEOBEEB84ED0CA 79CF6F
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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 13 of 94
 

 

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SMITA RS RADII 24 6)
BOAWRRSM RIANA NAPA
SHRERASE SURLASRTRESRAGAMBE 146 / di,
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SOUS NNS RE RIT RAR O17
MOR RAE MUEMRIBSEGRERTRNAM 011,

AMS IRR RMS 57

 

 

ROSMERRARIT RNS 7

 

 

 

Details are provided below:

 

Unified social credit code: 9133021 2793017223G

Business name: Ningbo C.F. Electronic Tech Co., Ltd.

RTH BRERA PR. 5]

Add: Xiwang Industrial Zone, Wanhua Village, Hengjie Town, Haishu District, Ningbo,

Zhejiang

HTL aT OBS ee ef PN ET
Zip: 315100

Tel: 0574-88279212

Email: /

Number of employees: 42 people

Number of female workers: 15 people

Business status: open normally

Enterprise holding information: private business

Has outward investment or purchases other company's stock rights: No

Has website or online store: No

Provide information assurance to others: No

Has stock rights transferred or not in this year: No

Main business activities of the enterprise: manufacturing, processing, wholesale and retail
of electronic components, electronic toys, household appliances; import and export of self-
operated or agent goods and technologies, except for goods and technologies that are
restricted or prohibited by the state.

Status of shareholders and contribution:

No. ame Ee Subscribed & paid- | Subscribed & | Form of
sHareholdets up capital paid-up capital | contribution
| contribution date |
Guo Jiaping (FB {# | 27September
1 | 38) | RMB 768,000 5006 | Currency -
Chen Zefeng (KKi% 27'September
2 es) | RMB 735,000 5006 | Currency

Company’ s condition of assets:

 

 

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 14 of 94
 

 

 

 

 

 

 

 

 

 

Total assets | RMB7.36047429 Total owner's | RMB1.36439057
| million _ equity | million
Gross revenue | RMB35.51220801 Total profits | RMB1.08628617
| million | million
Main business | RMB35.51220801 Net profit RMB1.03853568
income in the gross | million | million
revenue _ | a
Total tax payment RMB977.3641 1 Total liabilities | RMB5.99608372
thousand million
Social security information:
Basic pension | 41 people Unemployment 41 people
insurance for urban insurance
employees
Basic medical | 41 people Injury insurance 41 people
insurance for
employees
Maternity Insurance | 41 people
Payment base of the | RMB243.786 thousand
enterprise’ basic pension
insurance for urban
employees
Payment base of the | RMB8.708 thousand
enterprise’ unemployment
Enterprise payment base insurance
Payment base of the | RMB15.67 thousand

 

 

enterprise’ employee basic
medical insurance

 

Payment base of the
enterprise’ maternity
insurance

RMB12.201 thousand

 

Actual payment amount for
the period

The actual payment base of
the basic endowment
insurance for urban
employees of the current
period

RMB243.786 thousand

 

The actual payment base of
unemployment insurance
for the current period

RMB8.708 thousand

 

The actual payment base of
basic medical insurance for
employees for the current
period

RMB15.67 thousand

 

The actual payment base of
work injury insurance for the
current period

RMB17.417 thousand

 

The actual payment base of
maternity insurance for the
current period

RMB12.201 thousand

 

The
arrears

unit's cumulative

 

Accumulative arrears of the
enterprise’ basic pension
insurance for urban
employees

RMBO

 

Accumulative arrears of the
enterprise’ unemployment
insurance

RMBO

 

 

Accumulative arrears of the
enterprise’ basic medical
insurance for employees

 

RMBO

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 15 of 94

 

 
 

 

Accumulative arrears of the | RMBO
enterprise’ work — injury

 

 

 

 

 

 

insurance

Accumulative arrears of the | RMBO
enterprise’ maternity
insurance

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 16 of 94
Exhibit TD-2

to 21 January 2021 Declaration of Tiberius Dinu

ME! 34988@v:3:20-Cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 17 of 94
The online database <http://www.gsxt.gov.cn/index.html> of National Enterprise Credit
Information Publicity System offers the simple statutory information of Ningbo Yishang
Import and Export Co., Ltd. (Ningbo Trade Ease Import & Export Co.) at the webpage
<http://www.gsxt.gov.cn/%7B57A482FC3F85232ECCB245FF1D59A 1621C7022C07A 1
6522006BC7F0 16DC4CBB5422E6A 1 83E84D6DBC70409 1547B0E2581DE3A24C696
DDF191D5CBA7C7872BF38BF29BF29BF38BF2985 1394029402943E079A5BDC5B7
911E94089AA480CF4B3448765329832B4 1 EODSF524E1C70886A3D970197019701-
1603245556973 %7D>.

 

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TRpRBHOBMALAA
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sen:
FAREACA:  RRWE

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BEXAR: 20187701128

 

 

 

 

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* H—-MRMA: —91330203MAZAGTLHOR S0EM: TR ABUMOM AEA

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+ FEMI: — 100.0000005 ART * REM: 20208038178

‘MLA: $= 20184F018128 ‘SUE: 99994095098)

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ER: LATERM HET

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ARR)
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=e BNR ER ARE LEMAR OEE TERE S33 va

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 18 of 94
Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21

 

Details are provided below:

 

Unified social credit code: 91330203MA2AGTLH9R

Business name: Ningbo Yishang Import and Export Co., Ltd. (Ningbo Trade Ease Import &
Export Co.)

TR ARIEL O ARETE &]

Registration No.: /

Legal representative: Chen Peifeng (M&{ifil=E)

Type of business: liability limited company (sole proprietorship of natural person)

Date of establishment: 12% January 2018

Registered capital: RMB1 million

Date of approval: 17'* March 2020

Business validity: from 12% January 2018 to 9 September 9999

Registration authority: Ningbo Haishu District Market Supervision and Administration
Bureau

Status: existent

Registered add: Xiwang Industrial Zone, Wanhua Village, Hengjie Town, Haishu District,
Ningbo, Zhejiang

WLEAT RTE RRA PANE LW

Business scope: import and export of goods and technology by self or agency, except for
goods and technologies that are restricted or prohibited by the state; household
appliances, plastic raw materials and products, electronic components, wires and cables,
toys, hardware tools, mechanical equipment, electronic products, Wholesale and retail of
instruments, crafts (except ivory and its products), packaging materials, computer
accessories; commodity information consulting services. (Any project that needs to be
approved by law can only be carried out after getting approval by relevant authorities.)

Information of Shareholders:

No Name of Type of Type of ID / ID / License
ia Shareholders Shareholder _ License - Number
| ‘ |
| 1 | Pelfeng (Bi im | Natural person not publicized not publicized

Information of key members:

No. Name Position
1 | Chen Peifeng (BR (iE) | Executive Director and General Manager
| 2 Lti Zhuojing (S244) | Supervisor

Business renewal information:

No. Renewal Content Before Renewal After Renewal Date of
| Renewal
1 | Address Taoyuan Village, | Xiwang Industrial | 17% =March
Hengjie Town, | Zone, Wanhua 2020
Haishu District, | Village, Hengjie
Ningbo, Zhejiang Town, Haishu
WILE HSE | District, Ningbo,
aR Zhejiang
| HLA T Rh eek
| | PEL |
WE

 

 

Page 19 of 94

 
 

The company’s simple annual report of the year-2019 released on 29 May 2020 is
provided at the webpage
<http://www.gsxt.gov.cn/%7BACCA7992C4EBD84037DCBE91E6375A0CE71ED9AE

8178A94EFDD2489948D04A 167D0A5CEF0469B923ACDBF4244F9BE050C1E6B524
F083D041DE86948685868586948685BCBFADAEADAEAD923E36627062D52845792
5.

1603245558896%7D?anCheld=PRO VINCENODENUM330000fafdde99c65445 1da64ba
Sc0b630b86d&entType=1 &anChe Year=2019>.

 

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+ H—HSIRI/ERAS: §=— 91330203MAZAGTLHOR ‘SER: | TR RRAOSRREAA)
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* PMAKMIE: = 88279212 + CFE:

“AMAR: = 6A + Fpatt A kAge SA

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MRAB SAAR 518. 706115 5G

 

 

 

 

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 20 of 94
 

 

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BOBS AME 595 /T7F
SAR ESE
PUSMRLESETRRNBER 9557,
SSM e Reema 3595571,
PMAARIBAASRASRLTMAME 567677.
SMART MORR BAL = 127 AT,
SHRGHRA SMURLIBSETRAD RIE §— 22952717
SMLGHRRAVREMNMI 2543.87,
SOMERS RR = 1785: 6707,
ACSMMARIBAAS RGR RB 0751
PMSA RMA O77,
SACRA Ri MASMALARET RR RRA 07) i:
FASO TR RITA | Oi.

SATE NIE CR RAT RRR Or

 

 

 

 

 

Details are provided below:

 

Unified social credit code: 91330203MA2AGTLH9R

Business name: Ningbo Yishang Import and Export Co., Ltd. (Ningbo Trade Ease Import &
Export Co.)

SORT ARSE CAPR ETEZ a]

Zip: 315181

Tel: 88279212

Email: /

Number of employees: 6 people

Number of female workers: 5 people

Business status: open normally

Enterprise holding information: private business

Has outward investment or purchases other company's stock rights: No

Has website or online store: No

Provide information assurance to others: No

Has stock rights transferred or not in this year: No

Main business activities of the enterprise: self-employed or agent for the import and export of
goods and technologies, except for goods and technologies that are restricted or prohibited
by the state. Wholesale and retail of household appliances, plastic materials and products,
electronic components, wires and cables, toys, hardware tools, mechanical equipment,
electronic products, instruments, crafts (except ivory and its products), packaging materials
and computer accessories. Information consulting services.

Status of shareholders and contribution:

 

 

No. | Name e | Subscribed & paid- Subscribed & Form of
shareholders up capital paid-up capital contribution
_contribution date

Chen Peifeng (BR(lfi, | ay {2th January
+) | RMB million 2018 | Currency ;
Company’s condition of assets:
Total assets | RMB5.24881001 Total owner's| RMB  _—61.74886 |
million | equity | thousand

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 21 of 94
 

 

 

Gross revenue RMB18.44298019 __| Total profits | RMB-0.90617086 |
| million | _ million |
| Main business | RMB18.44298019 _|- Net profit | RMB-0.90617086
| income in the gross | million | million

| revenue |
Total tax payment /

| Total liabilities | RMB5.18706115

 

 

 

 

 

 

 

 

 

million oe
Social security information:
Basic pension | 6 people Unemployment 6 people
insurance for urban insurance
employees
Basic medical | 6 people Injury insurance 6 people
insurance for
employees
Maternity Insurance | 6 people
Payment base of the | RMB35.95 million
enterprise’ basic pension
insurance for urban
employees
Payment base of the | RMB35.95 million
enterprise’ unemployment
Enterprise payment base insurance
Payment base of the ) RMB35.95 million

enterprise’ employee basic
medical insurance

 

Payment base of the
enterprise’ maternity
insurance

RMB35.95 million

 

Actual payment amount for
the period

The actual payment base of
the basic endowment
insurance for urban
employees of the current
period

RMB356.76 million

 

The actual payment base of
unemployment insurance
for the current period

RMB1.274 million

 

The actual payment base of
basic medical insurance for
employees for the current
period

RMB229.32 million

 

The actual payment base of
work injury insurance for the
current period

RMB25.488 million

 

The actual payment base of
maternity insurance for the
current period

RMB17.856 million

 

The
arrears

unit's cumulative

 

Accumulative arrears of the
enterprise’ basic pension
insurance for urban
employees

RMBO

 

Accumulative arrears of the
enterprise’ unemployment
insurance

RMBO

 

Accumulative arrears of the
enterprise’ basic medical
insurance for employees

RMBO

 

 

Accumulative arrears of the
enterprise’ work injury
insurance

 

RMBO

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 22 of 94

 

 
 

 

Accumulative arrears of the | RMBO
enterprise’ maternity
insurance

 

 

 

 

 

 

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 23 of 94
Exhibit TD-3

to 21 January 2021 Declaration of Tiberius Dinu

MEI 3548888. 8:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 24 of 94
   

BUSINESS CORPORATION ANNUAL REPORT

NAME OF BUSINESS CORPORATION: BLUEWORKS CORPORATION

SECRETARY OF STATE ID NUMBER; 1537756 STATE OF FORMATION: NC

 

REPORT FOR THE FISCAL YEAREND: //31/2019
SECTION A: REGISTERED AGENT'S INFORMATION

1. NAME OF REGISTERED AGENT: Chen, Zefeng

2. SIGNATURE OF THE NEW REGISTERED AGENT:

ding Office Use Only

E - Filed Annual Report
1537756
CA202004700461
2/16/2020 05:00

 

Changes

SIGNATURE CONSTITUTES CONSENT TO THE APPOINTMENT
3. REGISTERED AGENT OFFICE STREET ADDRESS & COUNTY 4. REGISTERED AGENT OFFICE MAILING ADDRESS

12245 Nations Ford RD, Ste 501
Pineville, NC 28134 Mecklenburg County

SECTION B: PRINCIPAL OFFICE INFORMATION
1. DESCRIPTION OF NATURE OF BusiNess: Sale of home products

2. PRINCIPAL OFFICE PHONE NUMBER: (844) 319-0237

4, PRINCIPAL OFFICE STREET ADDRESS

12245 Nations Ford RD, Ste 501
Pineville, NC 28134

3. PRINCIPAL OFFICE EMAIL: Privacy Redaction

5. PRINCIPAL OFFICE MAILING ADDRESS

12245 Nations Ford RD, Ste 501

Pineville, NC 28134 Pineville, NC 28134

6. Select one of the following if applicable. (Optional see instructions)

LI] The company is a veteran-owned small business

[ | The company is a service-disabled veteran-owned small business

SECTION C: OFFICERS (Enter additional officers in Section E.)

 

 

12245 Nations Ford RD, Ste 501

 

 

 

 

NAME: Zhuojing Lu NAME: NAME:
TITLE: President TITLE: - TITLE:
ADDRESS: ADDRESS: ADDRESS:

12245 Nations Ford Rd, Ste 501
Pineville, NC 28134

 

 

SECTION D: CERTIFICATION OF ANNUAL REPORT. Section D must be completed in its entirety by a person/business

*Zhuojing Lu

 

 

SIGNATURE DATE
Form must be signed by an officer listed under Section C of this form.
Zhuojing Lu President
Print or Type Name of Officer Print or Type Title of Officer
This Annual Report has been filed electronically.

MAIL TO: Secretary of State, Business Registration Division, Post Office Box 29525, Raleigh, NC 27626-0525

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 25 of 94

 
   

AMENDED BUSINESS CORPORATION ANNUAL REPORT lal

NAME OF BUSINESS CORPORATION: BLUEWORKS CORPORATION

SECRETARY OF STATE ID NUMBER: 1537756

 

 

 

 

Filing Office Use Only
STATE OF FORMATION: NC
——$$ $= E - Filed Annual Report
7/31/2019 cA2020
REPORT FOR THE FISCAL YEAR END: CA2020091 10225

eS 3/31/2020 06:00

SECTION A: REGISTERED AGENT'S INFORMATION Changes

1, NAME OF REGISTERED AGENT: Sun, Haogi

 

 

2. SIGNATURE OF THE NEW REGISTERED AGENT:

SIGNATURE CONSTITUTES CONSENT TO THE APPOINTMENT
3. REGISTERED AGENT OFFICE STREET ADDRESS & COUNTY 4. REGISTERED AGENT OFFICE MAILING ADDRESS

12245 Nations Ford RD, Ste 501

12245 Nations Ford RD, Ste 501
Pineville, NC 28134 Mecklenburg County

Pineville, NC 28134
SECTION B: PRINCIPAL OFFICE INFORMATION
1. DESCRIPTION OF NATURE OF BUSINESS: Sale of home products

2, PRINCIPAL OFFICE PHONE NUMBER: (844) 319-0237 3. PRINCIPAL OFFICE EMAIL: Privacy Redaction

 

4. PRINCIPAL OFFICE STREET ADDRESS 5. PRINCIPAL OFFICE MAILING ADDRESS

12245 Nations Ford RD, Ste 501

12245 Nations Ford RD, Ste 501
Pineville, NC 28134

Pineville, NC 28134

6. Select one of the following if applicable. (Optional see instructions)

| The company is a veteran-owned small business
[ | The company is a service-disabled veteran-owned small business

SECTION C: OFFICERS (Enter additional officers in Section E.)

NAME: Haoqi Sun

 

 

 

 

 

 

NAME: Zhuojing Lu NAME:
TITLE: President TITLE: Secretary TITLE:
ADDRESS: ADDRESS: ADDRESS:

12245 Nations Ford Rd, Ste 501

12245 Nations Ford Rd, Ste 501
Pineville, NC 28134

Pineville, NC 28134

 

SECTION D: CERTIFICATION OF ANNUAL REPORT. Section D must be completed in its entirety by a person/business

*"aoai Sun

 

 

 

SIGNATURE DATE
Form must be signed by an officer listed under Section C of this form.
Haoqi Sun President
Print or Type Name of Officer Print or Type Title of Officer
This Annual Report has been filed electronically.

MAIL TO: Secretary of State, Business Registration Division, Post Office Box 29525, Raleigh, NC 27626-0525

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 26 of 94
  

AMENDED BUSINESS CORPORATION ANNUAL REPORT im

NAME OF BUSINESS CORPORATION: BLUEWORKS CORPORATION

 

 

 

SECRETARY OF STATE ID NUMBER: 1537756 STATE OF FORMATION: NC eee
— E - Filed Annual Report
713112019 cana
REPORT FOR THE FISCAL YEAR END: CA2020091 10225
—————— 3/31/2020 06:00

SECTION A: REGISTERED AGENT'S INFORMATION Changes

 

1. NAME OF REGISTERED AGENT: Sun, Haogi

2. SIGNATURE OF THE NEW REGISTERED AGENT:

 

SIGNATURE CONSTITUTES CONSENT TO THE APPOINTMENT
3. REGISTERED AGENT OFFICE STREET ADDRESS & COUNTY 4. REGISTERED AGENT OFFICE MAILING ADDRESS

12245 Nations Ford RD, Ste 501 12245 Nations Ford RD, Ste 501
Pineville, NC 28134 Mecklenburg County Pineville, NC 28134

 

 

SECTION B: PRINCIPAL OFFICE INFORMATION

1. DESCRIPTION OF NATURE OF BUSINESS: Sale of home products

 

2. PRINCIPAL OFFICE PHONE NUMBER: (844) 319-0237 3. PRINCIPAL OFFICE EMAIL: Privacy Redaction

 

 

4, PRINCIPAL OFFICE STREET ADDRESS 5, PRINCIPAL OFFICE MAILING ADDRESS
12245 Nations Ford RD, Ste 501 12245 Nations Ford RD, Ste 501
Pineville, NC 28134 Pineville, NC 28134

 

6. Select one of the following if applicable. (Optional see instructions)
L] The company is a veteran-owned small business

[| The company is a service-disabled veteran-owned small business

SECTION C: OFFICERS (Enter additional officers in Section E.)

 

 

 

 

 

 

 

 

 

NAME: Haoqi Sun NAME: Zhuojing Lu NAME:
TITLE: President TITLE: Secretary —_ . TITLE: ee _
ADDRESS: ADDRESS: ADDRESS:
12245 Nations Ford Rd, Ste 501 12245 Nations Ford Rd, Ste 501
Pineville, NC 28134 Pineville, NC 28134
SECTION D: CERTIFICATION OF ANNUAL REPORT, Section D must be completed in its entirety by a person/business
entity. .

Maogi Sun 3/31/2020

SIGNATURE DATE
Form must be signed by an officer listed under Section C of this form.
Haoqi Sun President
Print or Type Name of Officer Print or Type Title of Officer

This Annual Report has been filed electronically.
MAIL TO: Secretary of State, Business Registration Division, Post Office Box 29525, Raleigh, NC 27626-0525

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 27 of 94
Exhibit TD-4

to 21 January 2021 Declaration of Tiberius Dinu

MEI 4@HSy3 20-CV-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 28 of 94
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Ti roreye=y TU ers) WA WinWRe =)\¥)

Z8V71-8990-981-98+ -IlPD

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Exhibit TD-5

to 21 January 2021 Declaration of Tiberius Dinu

MEI 3543887.8:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 30 of 94
ese).

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Ee

Salt Chlorinators

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 31 of 94
 
   
  
  
  
  
   
 

wa() | Pool Pumps
Fil vee) 9 /06 Salt Chlorinator Systems

ia wm (0) / jo8 Replacement Salt Cells

mu SINAILNOD

= O9 Replacement Parts

O; 11 Pool Lights

\ | ? Pool Alarms

wm | 4 Pool Timer

mu | 4 Others

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 32 of 94
 

MAW Biueworks FlowBot BLPVS Variable Speed Pump

BLPVS Super High efficient and performance VSP can 7

Pentair Intallito®/ Whisperlow® Model. 1Hp, 1.5Hp, op eee with FEATURES:

1 Energy savings up to 90% versus traditional pumps

2 8 programmabie speed seltings and built-in timer assure optinum
speed and run times for maximum efficiency and savings.

3 Ultra-efficien! permanent magnet motor design reduces noise and
vibration for greater efficiency and longer pump lifa

4 Dramatically quieter operation - as low as 36 decibels (even lower
than Intelliflo®)

5. Totally enclosed fan-coolad (TEFC) design and low average operating
spaed makes IntelliFlo® the quietes! pump on earth

8. Built in diagnostics protect the pump for longer service life

  

eT)

HP: SE ‘SFHP’ A WATTER: FLOW! HEAD!
1 165 1.65 55 41200 24 24
15 147 2.2 i 1600 28 25
2 43 2.6 82 4800 30 25
3 1 3 10 2200 33 26

[ a Blueworks BLHVS Variable Speed Pump

BLHVS Super High efficient and performance VSP can compatible FEATURES:

with Hayward SuperpumpVS®/ Super pump® Model: 1. SHp 4. Energy savings up to 80% versus traditional pumps

2. Right-sized for medium-head pump appl 8 lor a faster payback
a6 compared to larger and more expensive variable speed madels

3, Ultra-efficient permanent magnet motor design reduces nolse and
vibration for greater efficiency and tonger pump life

4. Dramatically quieter operation - as tow as 38 decibela (evan lower
than Intelllio®)

5, Talally anclosed fan-cooled (TEFC) design and low average operating
speed makes IntelllFlo® the quietest pump on earth

6. Bultt In diagnostics protect (he pump for tonger service life.

  

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 33 of 94
 

ei Blueworks BLH Salt Chlorinator-
Compatible with Hayward Goldline® salt systems

The same 3 Year Waranly, the same US MADE FEATURES:
cell plate material No pipe tine work needed 1 Water flow detector

2 Long life time cell 10000-15000 hours

3. Digital display and LED indlcators

4 Accurate satinity level reading

5. Adjustable chlorine output

6. Super chtorination mode

7 High & low salt indicators & protection (working sall from 2300PPM to 8500PPM)

8. High & low temperature Indicators & protection (working temperature from SOF to 140F}
9. Cell falled indicator

10,Call self-cleaning

11, Warranty 2-7 Year

   

 

es _ elare dski2bK/aoKieok

Chiorine Ouiput 20/30/40/60 grams/hour

Salt Level tdeal 3000-4000 PPM, (2300-6500PPM)

Call lifetime 7000/10000/15000/20000/25000 hours for choice

Call Seif cleaning Reverse polarity/self cleaning

Salt Chlorinator Style _ Sultable for In Ground Pool

Unil Gross Welght i Round 11kgs

Unit Size 36.5°27.5°30em

Mts Re Size | Replaeetoiniaietior

BlueWorks BLH-C 20K Gallon 20,000 Galton | Compatlable to Aquarite models:
BlueWorks BLH-C 30K Gallon | 30,000 Gallon Aquarite 18K Gallon
BlueWorks BLH-C 40K Galton 40,000 Gallon Aquerite 20K Gallon
BlueWorks BLH-C 60K Gallon 60,000 Gallon Aquarite 40K Gallon

A Blueworks BLPT Salt Chlorinator-Compatible with Pentair Intellichlor®
3 Year Warranty compare to Pentair intellichlor®
1 Year eT OE FEATURES:
@ same cell material. 1. Inbuitd Sensors for flow detector, salinity and Te:
No pipe line work needed. 2. Long cell lifetime 10000-25000 hours y mp
3. Accurate salinily tevel reading
4. Adjustable chlorine output
5. Super chtorination mode
6. High & low salt indicators & protection (working salt from 2300PPM lo
6500PPM)
7. High & tow temperature Indicators & protection (working tamperature
from 50F to 140F)
8, Gell falled indicator
9, Call self-cleaning
10, Easy setting design
11, Smart chiorinator program
12. Digital display and LED tndicators
13. Warranty 2-7 Year , thrae times longer than Original Pentair

 
  

 
   

 

 

intellichtor®
| 45/20/40/60 gramsi =

,-Saltlevel______|_ideat 3000-4000 PPM, (2300-6500PPM)
Cell iifatime __|_7000/10000/1§000/20000/26000 haurs for cholce
Cell Seifcleaning | Reverse pa palarity/self c clean

_ Salt Chiorinator Style |_ Suitable for in G a a
Unit Gross Weight | Round f0kgs -
‘Unit Size | BREE B320m

 

 
     

 

 

 

   
 

mien A eae
taeworks B ee = Caton _40.to 50m3/15,000 gallon’60,000 tre IntelichortSK Gallon
—Blueworks BLPT-C 40K Gafoq 80 to 75mn3/20,000 gallon/76,000 lin Intallichor 20K Gallon =
“Bluewarks BLPTC 60K Galion ~ — 80 to 160m3/40,000 gdlin/160,000 tre Inielichon 40K Galion _)
"150 te 230 i3/60,000 gallonv230)000 lire 1 |

 

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procnune| 2

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 34 of 94
   

The same three year warranty,|he same US MADE cell plate
material No pipe line work needed

   

‘Ghiorine Qutput _ Forpoolsize)
Btueworks BLSC-C 15K Gallon
Blueworks BLSC-C 25K Galton '
Blueworks BLSC-C 40K Gallon :

Blueworks BLSC-C 60K Gallon

[ a Blueworks BLAT Salt Chlorinator

High performance salt chlorinators with Smart chtorinator
program and Inbulld timer for pump controt

Compatible wilh Hayward Goldline @ salt systems

The same three year warranty, the same US MADE cell
plate material.

No pipe line work needed

BANEE Biueworks BLSC Salt Chiorinator

60 to 75m3/20,000 gallon/75,000 ltrs

75 to 115m3/30,000 galton/115,000 Itrs i
115 to 150m3/40,000 gallon/150,000 Itre

150 to 230 m3/60,000 gallon/230,000 ltrs

FEATURES:

1. Waler flow detector

2. Long cell lifetime 10000-25000 hours

3. Digital display, mambrane panel

4. Accurale salinity level reading

5. Adjustable chlarine output

6 Super chlorination mode

7, High & low salt Indicators & protection (working salt from 2300PPM {o 6500PPM)

8. High & low lemperature Indicators & protection (working temperature fram SOF to 140F)
9. Cell tailed indicator

10, Cet! self-cleaning

11, Easy setting design

12. Smart chlorinater program

13. Workable for hot wealher area like Arizona, CA, FL.
14, Warranty 2-7 Year

 

“Model No. .
Chlorine Output
Salt Level Ideal 3000-4000 PPM, (2300-8500PPM)
Call lifetime 7000/10000/15000/20000/25000 hours for cholce
Cell Self cleaning Reverse polarity
Salt Chlorinator Styie Suitable for InGround Pool
Unil Gross Welght Round 10kgs
Unit Size 35°22°14 cm
Vollage 110/220 V
‘Compallbie With Aquaria

Aquarite 15K Gallon
Aquarite 25K Gallon
Aquarile 40K Gallon

FEATURES:

1 Water ftow detector

2. Long ilfe time cell 10000-25000 hours

3. Digital display, membrane panel

4. Accurate eatinity level reading

5. Adjustable chlorine outpul

6. Super chlorinalion made

7. High & low salt Indicators & protectlon (working salt from 2300
PPM lo 6500PPM)

8. High & low temperature indicators & protection (working
temperature from SOF to 140F)

9. Call failed indicator

10, Cell self-cleaning

11. Timers funcation control pump

12, Easy setting design

13, Smart chlorinator program

14, Workable for hot weather area like Arizona, CA, FL.

  

  

By

 

 

 

 

lan
~~ Blueworks BLAT-C 60K Gallon ~

 

pes mA

 

|

| Salt Level

| Call lifetime

Cell Self cleaning _
| Sall Chiorinator Style
Unit Gross Waight

| Unit Size

_ Voltage

      
 

 

60 to 76m3!20,000 gallon/75,000 irs

105.16 1 6pFa/80, 900 malienst 15; 000.8

118 to 150m3/40,000 gallon/160,000 ltrs
160 to 230 m3/60,000 gallon/230,000 ltrs

 
 

  
  

O/30/40/80 gramefhour
|_ Ideal 3000-4000 PPM, (2300-8600PPM)
__ 7000/10000/15000/20000/25000 hours for choice
Reverse polarity
| Sullable for inGround Poo!

_ Round 10kgs

36'22°14 cm

| 410/220 v

 

 

  

Wh Aqua
Aquarita 15 Gallon

Aquarite 25K Galton i
Aquarila 40K Gallon

O3|erochure

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 35 of 94
 

Blueeworks BLSW Salt Chlorinator-
B Compatible with Hayward Goldline ® salt systems

all plates

FEATURES:

1, Water flow detector

2. Lang life time call 10000-25000 hours
3, Adjustable chlorine output

4 Winter chlorination mode

5. High & low salt indicators & prolaction
6. Coll self-cleaning

7. Easy setting design

8. Warranly 2-7 Year

Most efficient Above ground salt pool chlorinator US MADE C.

(Medea, BUSWIC AOKIMEKIZ0K/S0K/40K
Chlorine Output 10/15/20/30/40 grams/hour
Salt Leval 2800-5000 PPM (Ideal 3000PPM-4000PPM)
Call lifetime 7000/10000/15000/25000 hours for choice
Call Self cleaning Reverse polarity

i Sall Chlorinator Style Suitable for Aboveground Pool
Unit Gross Welght Round 7kgs
J Unit Size 35°22°14 cm

Voltage 110V only

 

 

 

—Ghtorlne Output ee
BLSW-C 10 K Gallon 10 to 40m3/10,000 galion/40,000 ltrs
BLSW-C 15 K Galion 40 to 60m3/15,000 gallon/60,000 Itrs
BLSW.C 20K Gallon 60 to 75m3/20,000 gallon/75,000 itrs

75 to 116m3/20,000 gallon/115,000 ltrs

BLSW-C 30 K Gallon
BLSW-C 40 K Gallon 415 to 150m3/40,000 galton/150,000 Itrs

 

| \ BLUEWORKS BLIP Pool Control Center + Salt chlorinator
Control: pool pump and pool light. US MADE Cell plates FEATURES:

1. Sensors for water flow, Salinity level and temp

2. Long fifa tima call 10000-25000 hours

3. Digital display, membrane panel

4. Accurate saltnity lave! reading

5. Adjustable chlorine output

6. Super chlorination mode

7. High & low salt Indicators & protection (working salt from 2300PPM to 6500PPM)
8. High & low temperature Ir &p ton (working tampearat from BOF to 140F)
9. Cell failed indicator

10.Cell self-cleaning

11.Pool Pump control timer

12.Pool tight contro! Umer

13. Smart chlorinator program

14. Workable for hot weather area like Arizona, GA, FL.

16. Warranty 2-7 Year

        

iModall 2 Peel ya ————

Chlorine Output 20/30/40/60 grams/hour_

Salt Lavet | Ideal 3000-4000 PPM, {2200-6500PPM)

Call lifetime “7000/10000/15000/20000/25000 hours for cholce
| Cell Selfclaaning Reverse polarity

Salt Chiorinator Style | Sultable for Inground Pool
| Unit Gross Waight Round 12kgs

Voltage 110/220 V

 
    

60 to 75m3/20,000 gallon/75,000 Irs

 

= —_ -__ Blueworks BLIP-C 15K Galion

 

 

B . ——— ———s
: “na EE-C 28K Calon - 75 (o 118m3/30,000 galion’115,000 irs
———_—.__ Slueworks BLIP-C 40K Galion a 116 to 160m3/40,000 gallon/150,000 Irs

 

160 10 230 mi3/60,000 gallon’230,000 ltrs

 

kz 3 Blueworks BLIP-C 60K Galion

*rarocuune| 4,

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 36 of 94
 

im | BLUEWORKS BLAG Salt Chlorinator-Already Authorized US Sole Agent.

The same three year warranty,the same US MADE ceil plate material.

No pipe line work needed
FEATURES:

4 Water Now delector

2. Long life time cell 10000-15000 hours
3. Adjustable chtanne oulpul

4. Winter chlonnation mode

5 High & low sali Indicators & protection
6. Cell self-cleaning

7, Easy setting design

8. Warranty 2-7 Year

 

  

‘\Madeio, LAG HORHTEKI20K" ie
Chlorine Output 10/15/20 grams/hour
Salt Level 2800-5000 PPM (Ideal 3000PPM-4000PPM)
iT Ceil litetine 7000/10000/15000 hours for choice
Cel! Self cleaning Reverse polarity
Salt Chiorinator Style Sullable for Aboveground Poot
_ Unit Gross Welght Round 6.2kgs
Unit Size 44,5°38.5717 6 cm

     

 

‘(Chierina: Outpat - C pool size:
BLAG 10K 10 to 40m3/10,000 gallon/40,000 ltrs
BLAG 15K 40 to 60m3/15,000 gallon/60,000 Itre
BLAG 20K 80 to 75m3/20,000 gallon/76,000 ltrs

BAW BLUEWORKS BLAI Salt Chlorinator USA made Cell plates

—
oa, FEATURES:

, +. Long life Ume cail 10000-25000 hours

2. Adjustable chlorine oulput

3. Winter chiorinatien mode

4. High & tow salt indicators & protection

5. Cal! self-cleaning

6, Easy setting design

T. Warranty 2-7 Year

         

  

ae =: a
Chlorine Quipul | 10/15/20 grame/nour
Sait Level, ; 2800-5000 PPM (Ideal 3000PPM-4000PPM) ;
Gall IIfetime | 7000/10000/15000/hours for choice
| Cell Self cleaning Raverse polarity : eae
Salt Chiorinator Style | Sullable for Aboveground Pool —
| Unit Gross Welght

 
  

 

 

BLAG 10K ti on 10 ta 40m3/10,000 galion/40,000 Nea

 

‘ial BLAG 15K a 400 60m3/16,000gallon/€0,000 re
a oa BLAG 20K 60 to 76m3/20,000 gallorv76,000 lira “|

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 37 of 94
 

A | Blueworks BLDB

High perfarmance and Heavy Duly design

 

BLDB-C 20
BLDB-C 30
BLOB-C 40
BLDB-C 60

Salt Chlorinator-Already Authorized US Sole Agent.

FEATURES:

4 Water flow detector

2 Long life time call 10000-15000 hours

3. Digital display, membrane pane!

4. Acurate sailnity level reading

5 Adjustable chlorine output

6. Super chlorination mode

7. High & low salt indicators & protection (working salt from 2300PPM Io 6500PPM)
8. High & low farmperitura indicators & protection (working temperature from 50F to 140F)
9. Cell firitad Indicator

10. Call salf-claaning

11. Easy setting design

12. Smart chlorinator program

13.Workable for hot weather area like Arizona, CA, FL,

    

14.Warranty 2-7 Year
~ MadellNo,, “BLDB 20/80/40/80)
Chlorine Oulput 20/30/40/60 grame/hour
Salt Level 2800-5000 PPM (Ideal 3000PPM-4000PPM)
Cell lifetime 7000/10000/15000 hours for choice
Cell Self cleaning Reverse polarity
Salt Chlarinator Style Sultable for InGround Pool
Unit Gross Weight Round 12kgs
Unit Size _ 98°26.5°30 cm
Voltaga: 110V/220V
AS Forpese

60 to 75m3/20,000 gallon/75,000 Itra

75 to 115m3/30,000 gallon/115,000 ltrs
115 to 150m3/40,000 gatlon/150,000 ltrs
180 to 230 m3/60,000 gallon/230,000 Itrs

wa Blueworks BLAC Salt Chlorinator-Already Authorized US Sole Agent.

 

   

FEATURES:

1. Water flow detector

2. Long life time cell 10000-25000 hours
3. Digital display, membrane panel

4, Accurate salinity level reading

5, Adjustable chlorine output

6. Super chlorination mode

7, High & low salt indicators & protection (working salt from 2300PPM to 6500PPM)
8. High & tow t { tt

9. Call falled indicator
10. Cel self-cleaning
11. Warranty 2-7 Year

on from 50F to 140F)

e a IP

  

Chiorina Output 30/40 gramahour

 

 

| Sait Lavel ____| 2800-5000 PPM (Ideal 2000PPM-4000PPM)
| _ Cell lifetime |_7000/10000/15000 hours for choice
| Cell Self cleaning | Reverse polarity a

f t

| UnltGross Weight | Round 1tkgs :

_Salt Chiorinator Style___|_ Suilabfe for Ingraund Foo!

 

 

 

BLUEWORKS 0 6

BROCHURE

= 60 to 76m3/20,000 gallon/76,000 lira

75 to 115m3/20,

[ a
gellon/118,000 ltrs =|
145 to 160m3/40,00

) gallon/150,000 ttrs

   

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 38 of 94
 

m Blueworks T-15, T 9, T5, T3 Salt Cell- -Compatible
with Hayward Goldline ® salt systems Cell plates made in USA

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<I
‘Chlorine Oulput, (Eas ill. Compatible withAquariie®,
Bluaworks BLT-C 15K Gallon 60 to 75m3/20,000 gallon/75,000 Itrs T-3
———— Blveworks-BL7-G-26K Gallen ———————7 tor 11S 901-000 gatton/145,606-ttrs_—-—— 3
Blueworks BLT-C 40K Galion 145 to 150m3/40,000 gallon/150,000 ltrs T-15

| \ Blueworks BLPT Salt Cell-Compatible with Pentair Intellichlor®
Salt systems Cell plates made in USA

 

     

 

 
   
     

 

 

40 to soma/t6, 0 gallon’60,000 Irs intelichor 16K Gallon a |
| Blueworks BLP-C 20K Gallon | 60to 75m3/20,000: gallon/78,000 Ira Intaltichor 20K Gallon
Blueworks BLP-C 40K Gallon 80 to 160m3/40, 3/40,000 | galion/150,000 1 Wis _Intallichor  AOK Gal Galion
[Bieber BLPG GOK Gallon” | 480 to 230 ma60,000 galon/230,000 Ire Intalichor 80K Gallon

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 39 of 94
 

Blueworks BLRC Salt Cell-Compatible with Autopilot® Salt Systems
Cell plates made in USA

 

 

 

  

‘Chiorne Oulpul SS) Tar peal sa: | Compatibie with Autopiok®
Blueworks BLRC35 100 to 120m3/35,000 gallon/120,000 Itrs RC35
Blueworks BLRC42 120 to 140m3/42,000 gallon/160,000 lirs RC42
Blueworks BLRC52 140 to 190m3/52,000 gallon/190,000 Itrs ReS2

Wl Blueworks BLESC Salt Cell-Compatible with Davy ESC®
Salt Systems Cell plates made in USA

Blueworks BLESC48 compatible with ESC243648

ha Blueworks BLCPSC Salt Cell-Compatible with Compupool CPSC®
Sait Systems - :

     

Blueworks BLCPSC16

Blueworks BLOPSC24. SC

  

   
    

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errata Jeb ann my PSCZ4 en
____ Bhowens BEChs¢38| =| ce 75m9/20,000 gallon/76,000 lire crso3e |
ow SEerE ELC ER AT ___| _75to 100m3/30,000 galloni00,000le | jj. i GPSGd@

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 40 of 94
 

ww Blueworks BLFS Flow Switch-Compatible with Hayward Goldline®
Salt Systems, 1 year warranty.

 

wa Blueworks PCB Main and Display Circuit Board-Compatible with
Hayward Goldline® Salt Systems. 1 year warranty.

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 41 of 94
 

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Case 3:20-cv-00710-FDW-DSC

FEATURES:

1. Auto recharge in the day time, and Auto tuming on
in the night, full Automatic.

2. With 8-10 hours of direct sunlight charging thebattery
the light will operate for approximately 6-10 hours.

3. Brilliant LED lights will last up to 100,000 hrs

4, Floats on the surface of pool, lake or pond

5. Illuminates Up to 40 ft. x 50 ft. Pool

6. Size: 30.5°30.5*20ems

7. Weight: 6kgs

FEATURES:

1.Brilllant LED lights will last up to 100,000 hrs

2. Floats on the surface of pool, lake or pond

3. Illuminates Up to 20 ft. x 40 ft. Pool

4. Provides up to 8 hrs Illumination on one charge

5. Durable outer casing designed to withstand abuse
6. Size: 20.5°20.5*18cms

7. Weight: 1kgs

Document 10-2 Filed 01/21/21 Page 42 of 94
 

ea Blueworks magnetic base pool light
a 100% waterproof. Provide light wherever you may need it.

   
   

FEATURES:

Using its magnetic base, it can be attached anywhere,
even underwater.

Switch it on and off and change the colors and effects
by simply pressing the central button on the optic lens.

ET aye]
BROCHURE

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 43 of 94
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ade ;

   
 

FEATURES:

1. Certified to ASTM F2208

2. Workable for pool size up to 5*10m
3, Size: 29.5°24.8°27.5cm

4. Weight: 2 kgs

5. 1 Year Warranty

 

FEATURES:

1. Certified to ASTM F2208
2. For pool size up to 5m*10m
3. weight’2kgs

4, Size: :36*26*30cm.

5. 4PCS/CTNS, carton dimension:56*41*38.5em
8. 1 Year Warranty

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 44 of 94
 

Nal New programmable Timer Controller, Heavy Duty Standard Plug

-Already Authorized US Sole Agent.

 

FEATURES:
1. Most simple programmable timer.
2. 120V~60Hz
3. 15 Amp resistive
4. 1 HP 15FLA SORLA motor
5. Programmable Timer Day Cycle Activated
by sun light night cycle activated by darkness

Tal New programmable Timer Controller, Heavy Duty Twistlock Plug

-Already Authorized US Sole Agent.

 

AWE Bi1M01 Easy Programmable Timer

 

FEATURES:

1. Most simple programmable timer.

2, 120V~60Hz

3. 20 Amp resistive

4, 1 HP 15FLA 90RLA motor

5. Programmable Timer Day Cycle Activated
by sun light night cycle activated by darkness

FEATURES:

1. The easlest programmable timer.

2. 2 Independent time settings

3. 2,4,6 or 24 hour run times

4. 120V~60Hz

5. 15 Amp resistive

6. 1 HP 15FLA 90RLA motor

7. 1 Year Warranty

8. Unit weight:0.44kgs,dimension:11*7.5"14cm.

9. 12PCS/CTNS, carton dimension:30*26.5*24cm.

1 3)érocHune

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 45 of 94
 

ww Floating Solar lonizer- Already Authorized US Sole Agent
| up to 40,000 gallon pool size.

   

Floating Solar lonizer: Already Authorized US sole agent
up to 40,000 gallon poo! size.

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BROCHURE ] |

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 46 of 94
b

 

ae a aS

aa Floating Solar lonizer- Already Authorized US Sole Agent
up to 40,000 gallon pool size.

   

Floating Solar lonizer: Already Authorized US sole agent
up to 40,000 gallon pool size.

[ Copper lonizer:up to 10,000gallon pool size
(Voltage:120V/60HZ,Adaper:12V)

   

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 47 of 94
~CREPEACEMENT SALT-GELLS ) |

SADR me

 

im | Blueworks T-15, T 9, T5, T3 Salt Cell-Compatible
with Hayward Goldline ® salt systems Cell plates made in USA

 

 
  

Bluaworks BLT-C 15K Gallon 60 to 75m3/20,000 gallor/75,000 ltrs T-3
Blueworks BLT-C 25K Gallon 75 to 115m3/30,000 galfon/115,000 ltrs T9
Blueworks BLT-C 40K Gallon 115 to 150m3/40,000 gallon/150,000 tire 7-15

al Blueworks BLVX Salt Cell-Compatiable with Hurlcom® Astral
Pool VX salt system Cell plates made in us

 

 

 

 

 

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 48 of 94

 
Blueworks Corporation

Address: 303 Albemarle Street, Lexington, NC 27292
Email:contact.us@blueworkspool.com
Office:+1-844-319-0237/+1-917-204-7116

Website: blueworkspool.com

 

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 49 of 94
Exhibit TD-6

to 21 January 2021 Declaration of Tiberius Dinu

ME1 3548@68@.3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 50 of 94
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JE Thantum Electrode Seit Chlornator Product Cell Replacamant To Aulopilol - Buy BLUHAKNMS, 1.6 V KUNG Grz032, GRILLE Product on ADbats.com

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titanium electrode Salt Chlorinator Product cell replacement to Autopllot

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JE Tiantum electrode Salt Chiorinator Produe{ Chil Replacement To Auieptlbe = Buy BI (KANE, 1.6 VEIN Cr2092, akIR(¢#nIGlIN Product on Alibaba.com ih
Pitas ASS) MITt IAG ORE Tl BOUT. HER), SRE HAM:

 

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© Gold Supplier

Ningbo C.F Electronic Tech Co,, L_
Manufacturer, Trading Company

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70.6% G8 B
20,000+ for 37 3%

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 51 of 94
 

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FF Thanlum étactrode Salt Chlorinator Product Cell Raplacemwunt To Autopilot - Buy ALUHHEIN, 1.5 V IY Cr2032, aM YRERM Product on Alibaba.com
DN RAMS. EM, RCE:

  

 

 

 

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Ningbo G.F Electronic Tech Ga, L-
Manufacturer, Trading Company
a CFHW-1
CFIP-1 maa to Te veal nol ipa on tovns 7 Age
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Relpace to Hayward Relpace to Hayward feet e MSS evora
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Relpuce to Davey meee te ihder Relpace to Compupool
; 10 plates 7 plates 5 plates 4 plates () Messenger a
@ee < oO oO AA = webcache gs XBT VUuZ HA. i at “ a o
FE Tiantum electrode Salt Chlorinator Product Call Replacémant To Autopilot - Buy SLGIRAM, 1.6 V MAIN C2032, AbRLCHRIBIR Producl on Afbaba.com +

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 52 of 94
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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 54 of 94
Exhibit TD-7

to 21 January 2021 Declaration of Tiberius Dinu

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BS) Guangzhou Junbo Electronic Co._ "| Ruby
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#2 Booking your shipment? Check out the shockingly simple experience at Alibaba com Freight.

Compare rates

Can you give me the prices of all? | need to ask my client

%3 Can ship to Hongkong

fF Call to Havward T2 C151 TS $216 T15 $262
Start Order Logistics Inquiry

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 56 of 94
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#9 Can ship to Hongkong

43 Cell to Hayward T3 $151 T9 $216 T15 $262
‘ Cell to Pentair IC20 $330 IC40 $396 IC60 $457

ok, we need one T3 $151 and one IC20 $330, send me the invoice
thanks

%3 Hello,
. Your address, pls?

Ruby

%3 https://cashier.alibaba.com/linkpay/payProxy.htm?
“ param=7b197f0f1d213d79c289Sdae34ael 95f7bd58d50e23b3f1 2e931
a110625cbe7741 afb00a4e2f913ea97F:1 607328322431

%3 Payment link on alibaba

Hi send by SF Express?
Start Order Logistics Inquiry

Please tyse your message here

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 57 of 94
 

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%3 arranged the order

ok let me confirm the address and send to you later

hi please send to

Start Order Logistics Inquiry

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 58 of 94
 

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hi please send to

Unit F, 12/F Hoi Deen Court 276 Gloucester Road Causeway Bay

Hong Kong

Tel: 852-65578442

let me know the tracking later thanks

hi any tracking number?

ok thanks

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 59 of 94
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Messages will be stored in Buying Leads.
. helli

¥ may i know if your customer selling what type of salt chlorinator?

43 and where is he

Thanks for asking. | checked with my client and he needs the
products for 2 pools. One in Hong Kong, a 12,000 gallons pool, he

Start Order Logisties inquiry need the T3 Aquarite The other pool is in Thailand, is bigger 20,000

Plaase tyoe Your message ner

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 60 of 94

 
 

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Ningbo C.f Electronic Tech Co,,.-

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43 For different pool size?

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Thanks for asking. | checked with my client and he needs the
products for 2 pools. One in Hong Kong, a 12,000 gallons pool, he
need the T3 Aquarite. The other pool is in Thailand, is bigger 20,000
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so is goad you asked cause he need bigger Pentair IC40.

If you did not ship can | change to IC40 and pay the difference?

Thank you

So fet me know the difference?

The difference of the price?

So will shin this week?

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 61 of 94
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Ded you receive if voday ?

P Seven He , ¥ C40 396
‘ Guangzhou Junbo Electronic Co_. ‘|

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Can not find old inquiry messages? Old inquiry
messages will be stored in Buying Leads.

So how much we need to pay now? For the IC40

The remain balance

%3 may i know where is your customer@?
¥3 and your website pls?

Start Order Logistics Inquiry

Please type your message here

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 62 of 94
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: Nancy Huang 2021
¢ Shenzhen Yaxilan Trade Co., Ltd.

Customer from Hong Kong and Thailand

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%3 do you pool company?
Seven He

 

Guangzhou Junbo Electronic Co._ ‘I

 

We are sourcing company

Can not find old inquiry messages? Old inquiry

messages will be stored in Buying Leads. :
43 have company website of you?

No sorry

%3 what is your company name?

Yeetung

Start Order Logistics Inquiry

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 63 of 94
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IC 20 change to IC40 396, so 1 need to pay $66 more ?

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i) Guangzhou Junbo Electronic Co._ ‘| 43 yes

Can not find old inquiry messages? Old inquiry
messages will be stored in Buying Leads. How | pay to you?

Send me the payment link
%3 as now we need to know customer well
%3 i see there are many Yee Tung company on the website

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 64 of 94
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Fy as now we need to know customer well
Ruby Wang

Ningbo C.f Electronic Tech Co., ..

%3 i see there are many Yee Tung company on the website

Nancy Huang

Shenzhen Yaxilan Trade Co, Ltd

iOrcier!
Dear Ruby I don't get it and why so many questions for a product you
advertise openly. | am a sourcing company, Yeetung, and work with a

Connie Mo contractor that has a client that needs the chlorinators at the

} Shenzhen Globaisell Technology_ II locations mentioned. If you can't supply that's fine, | can apply for a

TQ ousgoove today? refund and buy somewhere else. | am kind of wasting time as my

client chases me. So please let me know if you can ship or if t apply

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i) Guangzhou Junbo Electronic Co_ fy

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& Booking your shipment? Check out the shockingly simple experience at Alibaba com Freight. =

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messages will be stored in Buying Leads. = .
* Sorry that we just want to know our customers better

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| still have balance to pay ?

Please let me know if I can pay the difference and when can | expect
you to ship it. If that is not possible please let me know so | can
make other arrangements. Thank you, Ruby.

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 65 of 94
 

   

 

 

 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 66 of 94

 
 

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Mrs. Ruby Wang

Company information

Company Name

Basic information
Country/Region:
Business type:

Year established:

Main products:

Location:
EmployeeCount:
Annual! revenue:
Year established:
Main markets:
TransactionCount:

Transaction amount:

Contact information
Tel:

Email:

Fax:

Mobile:

Address:

Request to view

Ningbo C.f Electronic Tech Co., Ltd
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20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 67 of 94

Case 3
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to 21 January 2021 Declaration of Tiberius Dinu

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 69 of 94
 

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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 70 of 94
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Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 71 of 94
Exhibit TD-9

to 21 January 2021 Declaration of Tiberius Dinu

MEI 3549@2688@ 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 72 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:42 AM

Subject RE: Re: Business Enquiry '
From Holly Chen <sales1@techflife.com> roundcue 2
To TG <teodoro@importasolylunamexico.com>

Cc <teodorosolyluna@outlook.com>

Reply-To <sales1@techflife.com>

Date 2020-12-11 15:23

Priority Normal

Dear Teodoro,

Thank you for your email. For CFT-C is compatible with Hayward Aquarite T3/T9/T15 cell. Do you
want to replace T3,T9 or T15?

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add: Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
Tel: 86574-88279212, Fax: 86574-88279211

China company website: www.techflife.com

Email: sales1 @techflife.com

Skype: cf.techi(holly chen)

Wechat: 18857988232

WhatsApp: 0086-18857988232

neneeeennnenene Original Message ----------

From: TG <teodoro@importasolylunamexico.com>,;
To: <sales| @techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-12-11 15:00
Subject: Re: Business Enquiry
Dear Holly,

Thanks for your reply
Attached the photo

Best Regards
Teodoro

From: Holly Chen <sales1@techflife.com>
Reply to: <sales 1@techflife.com>
Date: Friday, 11 December 2020 at 6:15 AM

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22395&_mbox=INBOX Page 1 of 5

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 73 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:42 AM

To: TG <teodoro@importasolylunamexico.com>
Cc: <teodorosolyluna@outlook.com>
Subject: RE: Re: Business Enquiry

Dear Teodoro,

Thank you for your email. Yes,l saw your email. May | know which is CFT-C
series? Could you please send me photo? Thank you.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chiorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add:

Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
Tel: 86574-88279212, Fax: 86574-88279211

China company website:www.techflife.com

Email: sales 1@techflife.com

Skype: cf.tech1(holly chen)

Wechat:18857988232

WhatsApp: 0086-18857988232

--------------- Original Message ----------
From: IG <teodoro@importasolylunamexico.com>;
To: <sales1@techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-12-10 18:03

Subject: Re: Business Enquiry

Dear Holy,
Hope you are keeping well .
We apologise for the late reply. Our business has been a bit quiet lately .

We had a look at your catalog and we would like to order the following as samples to test and
show to our clients.

We want to order the following:

1. CFT-C series. 1 pc

2. CFLH series. 1 pc

3. CFSC series. 1 carton
4, CFAG10/20. 1 unit

Please prepare Pl in RMB and send us your banking details.
My agent will do the payment.
We would appreciate it if you could prepare the goods and send to my agent in

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22395&_mbox=INBOX Page 2 of 5

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 74 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:42 AM

China as he has other goods to consolidate for us and will ship to us one time to
save some cost for us.

Waiting for your positive reply

Best Regards
Teodoro

From: Holly Chen <sales1@techflife.com>
Reply to: <sales1@techflife.com>

Date: Monday, 26 October 2020 at 3:12 AM

To: TG <teodoro@importasolylunamexico.com>
Cc: <teodorosolyluna@outlook.com>

Subject: RE: Re: Business Enquiry

Dear Teodoro,

Thank you for your introduce about your company. Yes,| will contact
with your agent in China to discuss further business.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add:

Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
Tel: 86574-88279212, Fax: 86574-88279211

China company website:www.techflife.com

Email: sales 1@techflife.com

Skype: cf.tech1(holly chen)

Wechat:18857988232

WhatsApp: 0086-18857988232

 

won --------- Original Message ~---------
From: TG <teodoro@importasolylunamexico.com>-:
To: <salesl@techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-10-24 03:25

Subject: Re: Business Enquiry

Dear Holly,

Thank you for your quick reply

Sorry for my late reply.

We are a reputable company established in 2005 and servicing our clients through all
of Mexico.

We also have big clients in the USA and surrounding areas who engaged us to source
these products for them since they

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22395&_mbox=INBOX Page 3 of 5

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 75 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:42 AM

Cannot travel to China.
We would like my agent who is based in China to visit you and have a face to face
meeting and discuss with you for further business for us.

Best Regards
Waiting for your reply

Teodoro

From: Holly Chen <sales1@techflife.com>
Reply to: <sales1@techflife.com>

Date: Tuesday, 20 October 2020 at 9:57 AM
To: TG <teodoro@importasolylunamexico.com>
Cc: <teodorosolyluna@outlook.com>

Subject: RE: Re: Business Enquiry

Dear Teodoro,

Thank you for your email. Could you please introduce about your
company? Thank you.

Yes,OK,I will contact with your agent to discuss further business
proposals.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add:

Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
Tel: 86574-88279212, Fax: 86574-88279211

China company website:www.techflife.com

Email: sales @techflife.com

Skype: cf.techi(holly chen)

Wechat:1885 7988232

WhatsApp: 0086-1885 7988232

Tren roc nesan- Original Message ----------
From: TG <teodoro@importasolylunamexico.com>:;
To: <salesl@techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-10-20 14:57

Subject: Re: Business Enquiry

Dear Holly,
We are glad to contact you today and make your acquaintance.

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22395&_mbox=INBOX Page 4 of 5

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 76 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:42 AM

We learn through Alibaba website that your esteemed company is engaged in
the business of Salt Pool Chlorinator etc and we feel that you may be able to
help us for our Mexican business and support us for our clients in USA.

My agent in China contacted you and asked us to send an e-mail to you.
Since we can not travel to China we would appreciate it very much if you could
receive my agent to discuss further business proposals.

Waiting for your positive reply.

Yours truly,

Teodoro

Empresa 186-302 Extremadura Insurgentes Mexico,
D.F.03740,

Mexico

Tel : 52-55-5331-8067

Fax: 52-55-5563-6849

Website: ,.<<importasolylunamexico>>

Email: <<teodoro@importasolylunamexico.com>>

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22395&_mbox=INBOX Page 5 of 5

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 77 of 94
Exhibit TD-10

to 21 January 2021 Declaration of Tiberius Dinu

MET 35488@68¥@ 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 78 of 94
PRT BBS ER AIBA Al
NINGBO C.F.ELECTRONICS TECH CO.,LTD

Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
‘Tel: 0574-88279212, Fax:0574-882792 11 ,www.techflife.com Email:salesl@teehflife.com

Proforma Invoice

 

 

 

To:Teodoro Dated:2020-12-14
C/I No.CFT1201
UNIT
TY
D creoope. PICTURE Q PRICE AMOUNT
UNIT
CFT3 \ 1) 1 151 151

 

 

 

 

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ms
Pb
CFAG20G-2 is 1 $310 $310

 

 

 

 

$1155=7551.852RMB

 

 

 

 

SAY US.DALLOR ONE THOUSAND ONE HUNDRED AND FIFTY FIVE ONLY
PAYMENT TERMS: 30% BANK TRANSFER FIRST FOR DEPOSIT,BALANCE PAYMENT
SHOULD BE PAID BEFORE SHIPPING

DELIVERY:7-12 WORK DAYS AFTER RECEIVED PAYMENT

Signature Signature

Houy Chen

 

TT account:

Company Name: Fig Global Limited (please notice not Ningbo
CF, fig is our HongKong company name)

Address: RM 1607 Trend CTR 29-31 Cheung Lee St Chai Wan HK
1. Beneficiary Bank Name: HSBC Hong Kong
2. Beneficiary Bank Address: 1 Queen's Road Central, Hong Kong
3. Swift Code: HSBCHKHHHKH
4. Account Number. 817-401615-838

Case 3:20-cv-00710-FDW-DSC Document 10-2

Filed 01/21/21

Page 79 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:56 AM

Subject RE: Re: Business Enquiry ‘i
From Holly Chen <sales1@techflife.com> foundevog
To TG <teodoro@importasolylunamexico.com>

Cc <teodorosolyluna@outlook.com>

Reply-To <sales1@techflife.com>

Date 2020-12-14 13:14

Priority Normal

e 2020-12-14 Pl to Teodoro.pdf (~287 KB)
Dear Teodoro,

Thank you for your fast reply. Haha,our weekend also normal,staying home and waching TV and
eating.
Now our city has been back to normal life but still afraid to go around.

Please check attached invoice. For salt chlorinator cell plates are made in China. Yes,all products in
catalog made by us,we're factory.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd
Have branch in NC,USA

Factory Add: Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
Tel; 86574-88279212, Fax: 86574-88279211

China company website: www.techflife.com

Email: salesi@techflife.com

Skype: cf.tech1(holly chen)

Wechat: 18857988232

WhatsApp: 0086-18857988232

woe ecnn ne nnnnne Original Message ----------

From: TG <teodoro@importasolylunamexico com>;
To: <salesi @techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-12-14 12:42

Subject: Re: Business Enquiry

Dear Holy,
Thanks-our weekend is just normal , Staying home and watching TV and eating .
Hope you had a nice weekend and how is the virus in your province.

Waiting for invoice.

Am I right to say that all your products in your catalogue are manufactured by your factory in China
right?, including the blades.

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22399& mbox=!INBOX Page 1 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 80 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:56 AM

Waiting for your e-mail
Regards

Teodoro

From: Holly Chen <sales1@techflife.com>
Reply to: <sales1@techflife.com>

Date: Monday, 14 December 2020 at 4:06 AM
To: TG <teodoro@importasolylunamexico.com>
Cc: <teodorosolyluna@outlook.com>

Subject: RE: Re: Business Enquiry

Dear Teodoro,

Thank you for your email. Hope you had a nice weekend. Yes,we have 20g,|
will send you invoice today.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add:

Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang Province,China
Tel: 86574-88279212, Fax: 86574-88279211

China company website:www.techflife.com

Email: sales 1@techflife.com

Skype: cf.tech1(holly chen)

Wechat:18857988232

WhatsApp: 0086-1885 7988232

 

qoo-o---------- Original Message ----------
From: TG <teodoro@importasolylunamexico.com>-:
To: <sales1@techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-12-11 16:41

Subject: Re: Business Enquiry

Dear Holy,

Thanks once again for helping us
For Item

2) 20g

3) 20g
4) 20g

 

If you don’t have 20g you could supply us with 30g

http://www.email-1.net/?_task=mail&_action=print&_uid=22399& mbox=|INBOX Page 2 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 81 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:56 AM

Regards

Teodoro

http://www.email-1.net/?_task=mail&_action=print&_uid=22399& _mbox=INBOX Page 3 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 82 of 94
Exhibit TD-11

to 21 January 2021 Declaration of Tiberius Dinu

MEI 3548843€13:20-Cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 83 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:58 AM

Subject RE: Re: Business Enquiry

il
From <teodoro@importasolylunamexico.com> foundcouog
To <sales1@techflife.com>
Cc <teodorosolyluna@outlook.com>

Date 2020-12-17 13:24
e Ningbo C.F. Electronic Tech Ph#2-bank receipt.jpg (54 KB)

Dear Holly,

Attached the Payment,

As my agent will be in your area (Ningbo) from next week consolidating some other goods for
us, we would appreciate it if you could prepare the goods and our agent will pick up from
your factory. This will save us some cost.

Also you mentioned that you have a facility in the USA. Does your facility in US also
manufacture or is it just used for assembly.

Also if we place future orders could you send our orders direct from US to Mexico.
Waiting for your reply.
Best Regards

Teodoro

On 2020-12-14 07:14, Holly Chen wrote:

Dear Teodoro,
Thank you for your fast reply. Haha,our weekend also normal, staying
home and waching TV and eating.

Now our city has been back to normal life,but still afraid to go
around.

Please check attached invoice. For salt chlorinator cell plates are
made in China. Yes,all products in catalog made by us,we're factory.

Have a nice day

Best Regards

Holly

General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add: Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo
City,Zhejiang Province,China

Tel: 86574-88279212, Fax: 86574~-88279211

China company website:www.techflife.com

Email: salesl@techflife.com

Skype: cf.techl(holly chen)

 

 

http://www.email-1.net/?_task=mail&_action=print&_uid=5&_mbox=INBOX.Sent Page 1 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 84 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:58 AM

Wechat: 18857988232
WhatsApp: 0086-18857988232

pote o non Original Message ------~--~-
FROM: TG <teodoro@importasolylunamexico.com>;
TO: <salesi@€techflife.com>;

CC: <teodorosolyluna outlook.com>;

SENT: 2020-12-14 12:42

SUBJECT: Re: Business Enquiry

 

Dear Holy,

Thanks-our weekend is just normal , Staying home and watching TV and
eating

Hope you had a nice weekend and how is the virus in your province.
Waiting for invoice.

Am I right to say that all your products in your catalogue are
manufactured by your factory in China right?, including the blades.

Waiting for your e-mail
Regards
Teodoro

FROM: Holly Chen <salesl@techflife.com>
REPLY TO: <salesl@techflife.com>

DATE: Monday, 14 December 2020 at 4:06 AM
TO: TG <teodoro@importasolylunamexico.com>
CC: <teodorosolyluna@outlook.com>

SUBJECT: RE: Re: Business Enquiry

 

Dear Teodoro,

Thank you for your email. Hope you had a nice weekend. Yes,we have
20g,I will send you invoice today.

Have a nice day

Best Regards

Holly

General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add: Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo
City,Zhejiang Province,China

Tel: 86574-88279212, Fax: 86574-88279211

China company website:www.techflife.com

Email: salesl@techflife.com

Skype: cf.techl(holly chen)

 

 

http://www.email-1.net/?_task=mail&_action=print&_uid=5&_mbox=INBOX.Sent Page 2 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 85 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 10:58 AM

Wechat: 18857988232

WhatsApp: 0086-18857988232

secs oce +--+ Original Message ------~-~-
FROM: TG <teodoro@importasolylunamexico.com>;

TO: <salesl@techflife.com>;

CC: <teodorosolyluna@outlook.com>;
SENT: 2020-12-11 16:41

SUBJECT: Re: Business Enquiry
Dear Holy,

Thanks once again for helping us
For Item

2) 20g

3) 20g

4) 20g

If you don’t have 20g you could supply us with 30g
Regards

Teodoro

 

 

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Co Woh iil baa Wesenigblcee Lae wa
http://www.email-1.net/?_task=mail&_action=print&_uid=5&_mbox=INBOX.Sent Page 3 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 86 of 94
Roundcube Webmail :: RE: RE: Re: Business Enquiry 20/1/2021, 10:57 AM

Subject RE: RE: Re: Business Enquiry

From Holly Chen <sales1@techflife.com> roundcvog
To <teodoro@importasolylunamexico.com>

Ce <teodorosolyluna@outlook.com>

Reply-To <sales1@techflife.com>

Date 2020-12-17 13:53

Priority Normal

Dear Teodoro,

Thanks for your order, we can get packaging ready before your agent comming again, when he
will come?
We don't have facility in USA, may be in the future we will have.

BIW,if sample past testing,how many units you can order a year? If your order quantity over
500 units a year,we can private label for you.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add: Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang
Province,China

Tel: 86574-88279212, Fax: 86574-88279211

China company website: www.techflife.com

Email: salesl@techflife.com

Skype: cf.techl(holly chen)

Wechat: 18857988232

WhatsApp: 0086-18857988232

econ --o-------- Original Message --~--------
From: <teodoro@importasolylunamexico.com>;
To: <salesl@techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-12-17 13:24

Subject: RE: Re: Business Enquiry

Dear Holly,
Attached the Payment,

As my agent will be in your area (Ningbo) from next week consolidating
some other goods for us, we would appreciate it if you could prepare the
goods and our agent will pick up from your factory. This will save us
some cost.

Also you mentioned that you have a facility in the USA. Does your
facility in US also manufacture or is it just used for assembly.

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22433&_mbox=INBOX Page 1 of 2

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 87 of 94
Roundcube Webmail :: RE: RE: Re: Business Enquiry 20/1/2021, 10:57 AM

Also if we place future orders could you send our orders direct from US
to Mexico.

Waiting for your reply.
Best Regards

Teodoro

http://www.email-1.net/?_task=mail&_action=print&_uid=22433& _mbox=INBOX Page 2 of 2

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 88 of 94
 

 

 

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fm BI <> OUSH

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 89 of 94
Exhibit TD-12

to 21 January 2021 Declaration of Tiberius Dinu

ME1 354&8@S€1 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 90 of 94
Ti Th Be AF BIR AERA A
NINGBO C.F.ELECTRONICS TECH CO.,LTD

Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City, Zhejiang Province,China
Tel:0574-88279212,Fax:0574-8827921 1,www.techflife.com Email:sales1@techflife.com

Proforma Invoice

 

 

 

 

 

 

 

 

 

 

 

To:Teodoro Dated :2020-12-18
C/I No.CFT 1201
UNIT
DESCRIPTION QTY
OF GOODS PICTURE PRICE AMOUNT
UNIT
CFT3 \ p 2 1 302
CFLH20G-2 1 $347 $347
BLSC20G-2 1 $347 $347
wma
ss
CFAG20G-2 ea 2 $310 $620
mS
$1,616

 

 

 

 

SAY US.DALLOR ONE THOUSAND SIX HUNDRED AND SIXTY SIX ONLY

Signature Signature

[ota Chen

 

For new order CFT3 1 pe and CFAG20G-2 1 unit total $461, must need be paid by cash
when your agent visit us pick up goods

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 91 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 11:00 AM

Subject RE: Re: Business Enquiry

From Holly Chen <sales1@techflife.com> roundcvog
To TG <teodoro@importasolylunamexico.com>

Cc <teodorosolyluna@outlook.com>

Reply-To <sales1@techflife.com>

Date 2020-12-18 15:08

Priority Normal

e 2020-12-18 Pl to Teodoro.pdf (~304 KB)

Dear Teodoro,

Thank you for your order. Yes,I revised invoice,add these two items,please check attached
invoice.

Once your agent confirm time,welcome call me. Ok,I will also send the invoice to your agent.
Look forward to receive larger order from you.

Have a nice day

Best Regards
Holly
General Manager Assistant

Focus on Salt Water Chlorinator.

Ningbo CF Electronic Tech Co., Ltd

Have branch in NC,USA

Factory Add: Xi Wang Industry Zone, HengJie Town, Haishu, Ningbo City,Zhejiang
Province,China

Tel: 86574-88279212, Fax: 86574-88279211

China company website: www.techflife.com

Email: salesl@techflife.com

Skype: cf.techl(holly chen)

Wechat: 18857988232

WhatsApp: 0086-18857988232

--------------- Original Message ----------
From: TG <teodoro@importasolylunamexico.com>;
To: <salesl@techflife.com>;

CC: <teodorosolyluna@outlook.com>;

Sent: 2020-12-18 13:37

Subject: Re: Business Enquiry

Dear Holly.

Hope you are well

Thanks for your reply.

Please could you had to our order.

1 X CFT3

1 X CFAG20G~-2

Our Agent will be at your company sometime next week and he will phone you first.

Our agent will also pay cash for these two items when visiting.

Please could you add these two items to the original Invoice you sent to us and give to our
agent one invoice

We are confident that after our client test these they will place larger order with us.
Have a nice day

 

http://www.email-1.net/?_task=mail&_action=print&_uid=22435& mbox=INBOX Page 1 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 92 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 11:00 AM

Best Regards
Teodoro

On 17/12/2020, 7:53 AM, "Holly Chen" wrote:
Dear Teodoro,

Thanks for your order, we can get packaging ready before your agent comming again, when he
will come?
We don't have facility in USA, may be in the future we will have.

BTW,if sample past testing,how many units you can order a year? If your order quantity
over 500 units a year,we can private label for you.

Have a nice day

Best Regards
Holly
General Manager Assistant

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Skype: cf.techl(holly chen)

Wechat: 18857988232

WhatsApp: 0086-18857988232

To: ;

CC: ;

Sent: 2020-12-17 13:24

Subject: RE: Re: Business Enquiry

Dear Holly,

Attached the Payment,

As my agent will be in your area (Ningbo) from next week consolidating
some other goods for us, we would appreciate it if you could prepare the
goods and our agent will pick up from your factory. This will save us

some cost.

Also you mentioned that you have a facility in the USA. Does your
facility in US also manufacture or is it just used for assembly.

Also if we place future orders could you send our orders direct from US
to Mexico.

Waiting for your reply.

Best Regards

 

 

Teodoro

http://www.email-1.net/?_task=mail&_action=print&_uid=22435& mbox=INBOX Page 2 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 93 of 94
Roundcube Webmail :: RE: Re: Business Enquiry 20/1/2021, 11:00 AM

http://www.email-1.net/?_task=mail&_action=print&_uid=22435& mbox=INBOX Page 3 of 3

Case 3:20-cv-00710-FDW-DSC Document 10-2 Filed 01/21/21 Page 94 of 94
